     Case 2:12-cr-00063-APG-CWH            Document 135        Filed 05/29/13     Page 1 of 1



 1

 2

 3                         UNITED STATES DISTRICT COURT
 4                                 DISTRICT OF NEVADA
 5                                             ***
 6
                                                    )
 7   UNITED STATES OF AMERICA,                      )        2:12-CR-00063-PMP-CWH
                                                    )
 8                         Plaintiff,               )               ORDER
                                                    )
 9          vs.                                     )
                                                    )
10   LELAND JONES,                                  )
                                                    )
11                         Defendant.               )
                                                    )
12

13          Before the Court for consideration is Defendant Jones’ fully briefed Motion to
14   Sever (Doc. #123) filed April 24, 2013.
15          Having considered the arguments of counsel presented, the Court finds that
16   Defendant Leland Jones is properly joined in the instant Indictment with co-Defendants
17   Ross Hack and Melissa Hack, in accord with Rule 8(b) of the Federal Rules of Criminal
18   Procedure. Although Defendant Jones’ trial is undoubtedly being delayed as a result of
19   the fact that his co-Defendants, Ross Hack and Melissa Hack, are engaged in necessary
20   litigation regarding their eligibility for the death penalty in this case, such delay does not
21   establish at this time a violation of Defendant Jones’s right to a speedy trial under 18
22   U.S.C. § 3161 or the Sixth Amendment.
23          IT IS THEREFORE ORDERED that Defendant Leland Jones’ Motion to
24   Sever (Doc. #123) is DENIED.
25   Dated: March
            May 29,29, 2013.
                    2013.

26


                                                        PHILIP M. PRO
                                                        United States District Judge
